Case 1:05-cr-10031-.]DT Document 8 Filed 06/17/05 Page 1 of 2 Page|D 10

UNITED STATES DISTRICT COURT F\LED E1`1,_*_#____‘_____\).().
WESTERN DISTRICT OF` TENNESSEE

Eastern Division 05 JUN n PH \\\ 00
uNlTED sTATEs oF AMERlCA ROE_:.HU pb D§Jlr$gfo(i§s§)
tl§l'“"-.l<, U.S. -

_vs_ Ca.s% N.ooH:U§d¢l©b§Ql-`holr

GREGORY T. KERRENT

 

ORDER OF DETENT|ON PEND|NG TRIAL
FlND|NGS
ln accordance with the Bail Reform Act, 18 U.S.C. § 3142(f), a detention hearing has been
held. The following facts and circumstances require the defendant to be detained pending trial.

The defendant makes no application for release at this time. A motion for conditions
of release and a detention hearing may be filed at a later date.

D|RECT!ONS REGARD|NG DETENT|ON

GREGORY T. KERRENT is committed to the custody of the Attorney General or his designated
representative for confinement in a corrections facility separate, to the extent practicable, from persons awaiting or
serving sentences or being held in custody pending appeal. GREGORY T. KERRENT shall be afforded a reasonable
opportunity for private consultation with defense counsel. On order of a Court of the United States or on request of an
attorney for the government, the person in charge of the corrections facility shall deliver the Defendant to the United
States marshal for the purpose of an appearance in connection with a Court proceeding

Date: June 17, 2005 g /7’/;?"4/?3 @~1

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE .TUDGE

111is document entered on the docket_shee§ncc)o|m&lta§e
with Rule 55 andfor 32(b) FFtCrP on ‘

 

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 8 in
case 1:05-CR-10031 was distributed by faX, mail, or direct printing on
June 20, 2005 to the parties listed.

 

 

M. Dianne Smothers

FEDERAL PUBLIC DEFENDER
109 S. Highland Ave.

Ste. B-S

Jacl<son7 TN 38301

Jimmy L. Croom

U.S. ATTORNEY'S OFFICE
109 S. Highland Ave.

Ste. 300

Jacl<son7 TN 38301

Honorable J ames Todd
US DISTRICT COURT

